






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-183 CR


____________________



ESTER GAINES, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 66854






MEMORANDUM OPINION (1)


	Ester Gaines was convicted and sentenced on an indictment for possession of a
controlled substance.  Gaines filed a notice of appeal on April 10, 2003.  The trial court
entered a certification of the defendant's right to appeal in which the court certified that 
as part of a plea-bargain agreement, the defendant waived in writing any right of appeal. 
See Tex. R. App. P. 25.2(a)(2).  The trial court's certification has been provided to the
Court of Appeals by the district clerk.

	On May 1, 2003, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a
part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

					

								PER CURIAM


Opinion Delivered June 19, 2003 

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


